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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA              : CRIMINAL COMPLAINT
                                      :
       v.                             : Honorable Zahid N. Quraishi
                                      :
DAVON HARLEY                          : Mag. No. 20-14011 (ZNQ)
                                      :


      I, Renee Repasky, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

                             SEE ATTACHMENT A

       I further state that I am a Special Agent with the Bureau of Alcohol,
Tobacco, Firearms and Explosives, and that this Complaint is based on the
following facts:

                             SEE ATTACHMENT B

continued on the attached pages and made a part hereof.



                                          s/Renee Repasky
                                      ___________________________________
                                      Renee Repasky, Special Agent
                                      Bureau of Alcohol, Tobacco, Firearms
                                      and Explosives

Attested to by telephone pursuant to
Fed. R. Crim. P. 4.1(b)(2)(A) on May 1, 2020,
in the District of New Jersey



HONORABLE ZAHID N. QURAISHI                ______________________________
UNITED STATES MAGISTRATE JUDGE             Signature of Judicial Officer
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                               ATTACHMENT A

                                  Count One

     On or about February 8, 2020, in Monmouth County, in the District of
New Jersey and elsewhere, the defendant,

                              DAVON HARLEY,

knowing that he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a firearm,
namely, a Glock 26 9mm pistol, serial number LHF227, and the firearm was in
and affecting commerce.

     In violation of Title 18, United States Code, Section 922(g)(1).
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                                  Count Two

     On or about February 8, 2020, in Monmouth County, in the District of
New Jersey and elsewhere, the defendant,

                              DAVON HARLEY,

knowingly possessed a machinegun, namely, a Glock 26 9mm pistol, serial
number LHF227, altered to shoot automatically more than one shot, without
manual reloading, by a single function of the trigger.

     In violation of Title 18, United States Code, Section 922(o)(1).
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                               ATTACHMENT B

       I, Renee Repasky, am a Special Agent with the Bureau of Alcohol, Tobacco,
Firearms and Explosives. I am fully familiar with the facts set forth herein based
on my own investigation, my conversations with other law enforcement officers,
and my review of reports, documents and other items of evidence. Where
statements of others are related herein, they are related in substance and in
part. Because this complaint is being submitted for a limited purpose, I have
not set forth each and every fact that I know concerning this investigation.
Where I assert that an event took place on a particular date, I am asserting that
it took place on or about the date alleged.

      1.   On February 3, 2020, Neptune City Police Officer Alexander Parisi
observed a YouTube rap music video in which defendant DAVON HARLEY
brandished what appeared to be a submachinegun. As a result, Officer Parisi
issued a message to surrounding law enforcement agencies warning that
HARLEY may be armed and dangerous.

       2.    On February 8, 2020, Officer Parisi was on patrol in the area of a
local apartment complex. He observed a male (“Individual 1”) standing in the
road yelling at two other men who were on the property of the apartment
complex. Individual 1 was blocking vehicle traffic in the road. When he saw
Officer Parisi’s police vehicle, Individual 1 walked out of the road toward the
other two individuals. The three men continued to argue loudly.

      3.     Officer Parisi parked his vehicle next to the three men and
immediately recognized HARLEY as one of the two men with whom Individual 1
was arguing. When Officer Parisi exited his vehicle, he observed HARLEY place
his hand over a bulge in his waistband. Officer Parisi approached HARLEY, who
was holding a dog on a leash, at which time HARLEY walked away quickly.
Officer Parisi ordered HARLEY to stop several times, but HARLEY continued to
walk away, and continued to cover the bulge in his waistband. HARLEY
ultimately dropped the leash and began to run while keeping his hand at his
waistband. Officer Parisi chased HARLEY, who jumped over a fence into the
backyard of a nearby home.

       4.     Shortly thereafter, officers from the Neptune City, Neptune
Township, and Asbury Park Police Departments arrived to assist and set up a
perimeter around the area where HARLEY had last been seen. A short time later,
officers located HARLEY and took him into custody approximately one block from
the apartment complex where Officer Parisi had observed him.

      5.    Thereafter, officers, with the assistance of a police canine, searched
for a weapon in the area where Officer Parisi had chased HARLEY. Officers
located a Glock 26 9mm pistol, bearing serial number LHF227 (“Firearm”), and
a magazine capable of holding 31 rounds of ammunition in the front yard of a
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nearby house located on the street where HARLEY had been taken into custody.
(Officers found the Firearm and magazine separate from each other but within
the same yard.) Officers recovered the Firearm and magazine approximately 75
feet from the location of HARLEY’s arrest.

       6.    Upon further examination, law enforcement determined that the
Firearm had been altered by the installation of a conversion switch, which
caused it to operate exclusively in a fully automatic mode. That is, the Firearm
fires multiple rounds of ammunition with one operation of the trigger. The
Firearm was not manufactured in the State of New Jersey and therefore moved
in interstate commerce before February 8, 2020.

       7.    After his arrest, HARLEY engaged in several recorded telephone
conversations about the Firearm from the Monmouth County Correctional
Institution. During one call, HARLEY admitted that he did possess the Firearm
and that it was his. HARLEY also described the Firearm as a machinegun. In
another call, HARLEY admitted that he had separated the magazine from the
Firearm before his arrest.

       8.     On or about February 7, 2014, HARLEY was convicted in the
Superior Court of New Jersey, Hudson County, of Aggravated Assault, in
violation of N.J.S.A. 2C:12-1B(1), a crime punishable by imprisonment for a term
exceeding one year. HARLEY was sentenced to a term of imprisonment of three
years.
